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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA


                         CIVIL MINUTES – GENERAL
   Case No. SACV 16-00262 AG (JCGx)            Date                             September 20, 2019
   Title       IN RE TOLL ROADS LITIGATION




   Present: The Honorable       ANDREW J. GUILFORD
            Melissa Kunig                         Not Present
             Deputy Clerk                  Court Reporter / Recorder           Tape No.
         Attorneys Present for Plaintiffs:            Attorneys Present for Defendants:

  [IN CHAMBERS] ORDER REGARDING REQUEST THE COURT RELEASE ITS
  TENTATIVE RULING ON FIVE ISSUES (DKT. NO. 548)

  Defendants the Orange County Transportation Authority (“OCTA”) and Cofiroute USA LLC
  (“Cofiroute”) request the Court release its tentative ruling on five issues raised in Defendants’
  Joint Motion. (Dkt. No. 548 at 2, “Motion”.) Defendants conferred with counsel for all other
  parties, attempting to determine what impact the release of the tentative ruling on the issues
  affecting OCTA and Cofiroute might have on the settlement between: (1) Plaintiffs and
  Defendant 3-M and (2) Plaintiffs, the TCA Defendants, and TCA’s contractor BRiC. (Motion
  at 2.) Defendants assert that issuing the tentative ruling on the five issues would have “little to
  no effect” on the settlement between Plaintiffs and Defendant 3-M and the settlement
  between Plaintiffs, the TCA Defendants, and BRiC. (See Motion at 305.)

  In opposition, Plaintiffs contend that “because all five issues apply equally to both the OCTA
  and the TCA, a ruling on any one of the overlapping issues could impact the settlement
  process.” (Dkt. No. 551 at 2.) The Court agrees.

  The Court DENIES the Motion. (Dkt. No. 548.)

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